                                              Summary of Fresh Market Double Counting of Overhead



                                                                           Disputed
                                     Amount                           Overhead Added
                                 Received from       Costs Charged    Per Commission        Per Job Cost Detail:    Total of Added
                                      Client           to Client         Spreadsheet                                Overhead and        30% of
   Project Name    Job Number     (Trial Ex. 81)     (Trial Ex. 81)     (Trial Ex. 81)    Phase 100 Phase 102          Phases           Total         Exhibit
TFM ROS 217       17TFM-002     $       76,708.00   $     64,516.81   $        7,000.00 $ 12,699.01 $ 5,224.80      $    24,923.81   $ 7,477.14    Trial Ex. 1042
TFM DUN 043       17TFM-003     $       90,001.00   $     77,257.15   $        7,000.00 $ 14,765.96 $ 5,461.51      $    27,227.47   $ 8,168.24    Trial Ex. 1043
TFM ASH 003       17TFM-004     $       91,341.00   $     84,306.24   $        7,000.00 $ 23,177.34 $ 3,014.90      $    33,192.24   $ 9,957.67    Trial Ex. 1044
TFM ATH 155       17TFM-006     $       83,324.00   $     71,021.13   $        7,000.00 $ 16,208.90 $ 4,501.23      $    27,710.13   $ 8,313.04    Trial Ex. 1045
TFM PVB 025       17TFM-007     $       86,666.00   $     76,757.15   $        7,000.00 $ 16,566.28 $ 4,246.72      $    27,813.00   $ 8,343.90    Trial Ex. 1046
TFM MAN 026       17TFM-008     $       85,762.00   $     71,022.57   $        7,000.00 $ 9,611.38 $ 6,316.95       $    22,928.33   $ 6,878.50    Trial Ex. 1047
TFM ASH 189       17TFM-009     $       71,951.00   $     62,783.85   $        7,000.00 $ 18,973.07 $ 3,928.78      $    29,901.85   $ 8,970.56    Trial Ex. 1048
TFM SUW 068       17TFM-010     $       87,976.00   $     73,106.59   $        7,000.00 $ 11,852.63 $ 5,875.46      $    24,728.09   $ 7,418.43    Trial Ex. 1049
TFM PTC 128       17TFM-011     $       75,918.00   $     63,521.13   $        5,000.00 $ 13,298.19 $ 5,312.94      $    23,611.13   $ 7,083.34    Trial Ex. 1050
TFM UP 103        17TFM-012     $     111,820.22    $    103,213.68   $              -    $ 26,155.16 $ 3,688.52    $    29,843.68   $ 8,953.10    Trial Ex. 1051
TFM WEL 073       17TFM-013     $       77,373.00   $     63,162.99   $              -    $ 12,155.48 $ 6,090.01    $    18,245.49   $ 5,473.65    Trial Ex. 1052
TFM VB 115        17TFM-014     $       86,325.00   $     76,602.69   $              -    $ 17,775.98 $ 4,166.71    $    21,942.69   $ 6,582.81    Trial Ex. 1053
                                                                                       Subtotal to be Added Back:   $ 312,067.91     $ 93,620.37




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